              Case: 24-2370, 03/31/2025, DktEntry: 113.1, Page 1 of 3




             Case No. 24-2370
             UNITED STATES COURT OF APPEALS
                  FOR THE SECOND CIRCUIT

Mohamed John Akhtar, La Buca
Restaurant, Inc., DBA Swing 46
Jazz and Supper Club,

      Plaintiffs - Appellants,
                                         Declaration of Anthony N. Iannarelli
                                         Jr. in Response to the Declaration
 v.                                      of the New York City Defendants-
                                         Appellees
Eric Adams, Mayor of the City of
New York, Rohit T.
Aggarwala, New York City
Department of Environmental
Protection, Eric M. Eisenberg,

      Defendants - Appellees,

Jane Does 1-30, John Does 1-30,

             Defendants.


      Anthony N. Iannarelli Jr., of full age and the attorney for plaintiffs-

appellants herein, declarec and affirms under the penalty of perjury to the

following:

   1. I am the attorney for plaintiffs-appellants and I make this Declaration
               Case: 24-2370, 03/31/2025, DktEntry: 113.1, Page 2 of 3




in Response to the New York City defendant-appellees’ (hereinafter City

defendants-appellees) position, dated march 17, 2025, that plaintiffs-

appellants’ appeal, in its entirety, should be dismissed without prejudice.

   2. While I appreciate the sense of fairness of counsel for the City

defendants-appellees, Mr. D. Alan Rosinus, in his position for dismissal

without prejudice, it still leaves plaintiffs-appellants in a difficult, if not

untenable, position.

   3. The district court below dismissed without prejudice the complaint

against defendant-appellee Eric M. Eisenberg, (hereinafter defendant-

appellee Eisenberg) with leave to amend. Plaintiffs-appellants have filed

an amended complaint, but were not able to serve defendant-appellee

Eisenberg as most recently as March 17, 2025.           And, in spite of multiple

attempts to serve, service was only completed after the district court

allowed for alternative service by email.

   4. As for the City defendants-appellees, the district court dismissed with

prejudice on all counts and without leave to amend. That is a final Order

for which plaintiffs-appellants’ filed a notice of appeal, and have already

filed their brief and appendix.

   5.   The original complaint was filed on July 28, 2023 and it will be
              Case: 24-2370, 03/31/2025, DktEntry: 113.1, Page 3 of 3




coming close to the two year mark. As the case proceeds against

defendant-appellee Eisenberg, most likely more than two years will have

transpired before the issues raised concerning City defendants-appellees

can be addressed by this Court.

   6. The complaint alleges facts that are tightly intertwined between both

defendant-appellee Eisenberg and the City defendants-appellees. Perhaps

if the appeal of dismissal with prejudice can now be decided as to the City

defendants-appellees, and if favorable for the plaintiffs-appellants, it would

allow for time to have the trial proceed, contemporaneously, in the district

court as to both defendant-appellee Eisenberg and the City defendants-

appellees.

   7. Of course that is only a suggestion, and the most logical approach

would be to leave it to the sound discretion of this Court.

      I affirm to the truth of the forgoing and am aware that I can be subject

to punishment for any statement knowingly made false.

Dated: March 31, 2025                      /s/ Anthony N. Iannarelli Jr.
                                            Anthony N. Iannarelli Jr.
                                         Attorney for Plaintiff-Appellants
